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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            EVANSVILLE DIVISION

 WHOLESALE SCREENING
 SOLUTIONS LLC,

              PLAINTIFF,
                                                 CAUSE NO. 3:20-cv-158-RLY-MPB
 v.

 CRIMINAL RESEARCH AND
 INVESTIGATIONS, INC., LAUREN
 ZULUAGA, STACI LAIRD ZULUAGA,
 AND DEBRA KELLER

              DEFENDANTS.


                          STIPULATION OF DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,

 Plaintiff, Wholesale Screening Solutions LLC, Defendants and Third Party

 Plaintiffs, Criminal Research and Investigations, Inc., Lauren Zuluaga, Staci Laird

 Zuluaga, and Debra Keller, and Third Party Defendants, Reference Services, Inc.,

 David A. Stinnett, and The Stinnett Family Trust, through their undersigned

 counsel, hereby stipulate to the dismissal of this action with prejudice, with each

 party bearing its own fees and costs. This will conclude this case.
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   SOLUTIONS LLC. and THIRD                  STACI LAIRD ZULUAGA and
   PARTY DEFENDANTS,                         DEBRA KELLER
   REFERENCE SERVICES, INC.,
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